Case 1:14-cr-00068-LGS Document 266 Filed 05/29/15 Pagelof1

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May 29, 2015

BY ECF

The Honorable Katherine B. Forrest
United States District Judge
Southern District of New York
United States Courthouse

500 Pearl Street

New York, New York 10007

Re: United States v. Ross Ulbricht,
14 Cr. 68 (KBF)

Dear Judge Forrest:

Attached please find excerpts from TOR chat logs, including TOR log chat TV32, at 785-
90 (cited in Mr. Ulbricht’s reply to the government’s sentencing letter, at 7), which rebut the
government’s contention that the Silk Road web site’s purpose was, like other drug-selling
operations, based on the profit motive.

Respectfully submitted,
Lindsay A. Lewis

LAL/
Encls.
